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      Attorney General; and U.S. DEPARTMENT OF
13    JUSTICE
14
15                                IN THE UNITED STATES DISTRICT COURT

16                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
17                                         SAN FRANCISCO DIVISION
18
      CITY AND COUNTY OF SAN
19    FRANCISCO,                                         No. 3:17-cv-04642-WHO

20                           Plaintiff,
                     v.
21                                                       DEFENDANTS’ NOTICE OF APPEAL
      MATTHEW G. WHITAKER,1 Acting
22    Attorney General of the United States, et al.,
23
                             Defendants.
24
25          PLEASE TAKE NOTICE that the defendants hereby appeal to the United States Court of

26   Appeals for the Ninth Circuit from this Court’s Judgment and Order dated October 5, 2018

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            1
28            Matthew G. Whitaker is substituted for Jefferson B. Sessions III as a defendant herein
     pursuant to Federal Rule of Civil Procedure 25(d).
     Defendants’ Notice of Appeal
     No. 3:17-cv-04642-WHO
      Case 3:17-cv-04642-WHO Document 147 Filed 12/03/18 Page 2 of 2



 1   (Docket No. 146), and from all earlier rulings and interlocutory orders on which the Judgment
 2   and Order was based or that merged into it.
 3   Dated: December 3, 2018

 4                                                   Respectfully submitted,
 5
                                                     JOSEPH H. HUNT
 6                                                   Assistant Attorney General

 7                                                   ALEX G. TSE
                                                     United States Attorney
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                                                     JOHN R. TYLER
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                                                     /s/ W. Scott Simpson
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19                                                   DUMMERMUTH, Principal Deputy Assistant
                                                     Attorney General; and U.S. DEPARTMENT OF
20                                                   JUSTICE
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